INSD Change of Attorney Information (Rev. 1/2022)
          Case 4:20-cv-00087-TWP-DML Document 59 Filed 08/17/22 Page 1 of 1 PageID #: 1089

                                               UNITED STATES DISTRICT COURT
                                                              Southern District of Indiana


                                                      NOTICE OF CHANGE OF
                                                     ATTORNEY INFORMATION



     TO: ALL PARTIES



                                                                          )   3:21-cv-66-RLY-MPB; 3:20-cv-00278-RLY-MPB;
                                                                          )   4:20-cv-87-TWP-DML; 3:19-cv-00258-RLY-MPB;
                                                                          )   1:21-cv-01767-SEB-DML; 1:20-cv-2978-RLY-TAB;
                                  Pending Case No(s).1                    )   1:22-cv-01106-JMS-DLP.
                                                                          )
                                                                          )
                                                                          )


     Pursuant to Local Rule 5-3, the undersigned counsel notifies all parties of the following changes:

                                                    Previous Information:                                            Current Information:

                        Name: Jeffrey Macey                                                          Jeffrey Macey

                Law Firm, Macey Swanson LLP                                                          Macey Swanson LLP
                 Company,
            and/or Agency:

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                    August 17, 2022
              Date: ________________                                                                Jeffrey A. Macey
                                                                                                 s/ ______________________________


     1
         Identify each case in which you have filed a Notice of Appearance and the case is still pending. This Notice must be filed in each pending case.
